Case 9:24-cv-00085-MJT
  Case 9:24-cv-00085-MJT Document
                          Document19-6  Filed06/24/24
                                   8-1 Filed  07/24/24 Page
                                                         Page 1 of
                                                            1 of 217PageID
                                                                     PageID#:#:86
                                                                                239




                                                                       EXHIBIT 5
Case 9:24-cv-00085-MJT
  Case 9:24-cv-00085-MJT Document
                          Document19-6  Filed06/24/24
                                   8-1 Filed  07/24/24 Page
                                                         Page 2 of
                                                            2 of 217PageID
                                                                     PageID#:#:87
                                                                                240




                                                                       EXHIBIT 5
Case 9:24-cv-00085-MJT
  Case 9:24-cv-00085-MJT Document
                          Document19-6  Filed06/24/24
                                   8-1 Filed  07/24/24 Page
                                                         Page 3 of
                                                            3 of 217PageID
                                                                     PageID#:#:88
                                                                                241




                                                                       EXHIBIT 5
Case 9:24-cv-00085-MJT
  Case 9:24-cv-00085-MJT Document
                          Document19-6  Filed06/24/24
                                   8-1 Filed  07/24/24 Page
                                                         Page 4 of
                                                            4 of 217PageID
                                                                     PageID#:#:89
                                                                                242




                                                                       EXHIBIT 5
Case 9:24-cv-00085-MJT
  Case 9:24-cv-00085-MJT Document
                          Document19-6  Filed06/24/24
                                   8-1 Filed  07/24/24 Page
                                                         Page 5 of
                                                            5 of 217PageID
                                                                     PageID#:#:90
                                                                                243




                                                                       EXHIBIT 5
Case 9:24-cv-00085-MJT
  Case 9:24-cv-00085-MJT Document
                          Document19-6  Filed06/24/24
                                   8-1 Filed  07/24/24 Page
                                                         Page 6 of
                                                            6 of 217PageID
                                                                     PageID#:#:91
                                                                                244




                                                                       EXHIBIT 5
Case 9:24-cv-00085-MJT
  Case 9:24-cv-00085-MJT Document
                          Document19-6  Filed06/24/24
                                   8-1 Filed  07/24/24 Page
                                                         Page 7 of
                                                            7 of 217PageID
                                                                     PageID#:#:92
                                                                                245




                                                                       EXHIBIT 5
